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UNITED STATES DISTRICT COURT

Glerk, U.S. District & Bankruptcy FOR THE DISTRICT OF CO sf
Courts for the District of Cokwmbla LUMBIA tlt zi

UNITED STATES OF AMERICA
v. Case No. 21-cr-246-2 (ABJ)
EDWARD BADALIAN,
Defendant.
DEFENDANT’S RESPONSE TO THE UNITED STATES OF AMERICA’S PROPOSED
MODIFICATION OF HIS CONDITIONS OF RELEASE

Defendant EDWARD BADALIAN submits his response to the UNITED STATES OF
AMERICA’S (hereinafter “GOVERNMENT”) proposed modification of his conditions of release
as follows: Defendant EDWARD BADALIAN has no objections to the GOVERNMENT’S
proposed modification of conditions of release reflected in the status report of the Pretrial Services
Agency for the District of Columbia (docket # 70) .

Further, in compliance with the Local Criminal Rule 44.1, on December 3, 2021, Tigran
Martinian, the counsel of record for the Defendant, EDWARD BADALIAN, filed an Application
for Admission to the United States District Courts for the District of Columbia. Such Application
has been accepted by the Court on December 13, 2021. The Application is now pending final

approval from the assigned judge on the first date of the motion hearing which is scheduled for

January 3, 2022.
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Tigran Martinian further complied with the Oath of Admission and payment requirements of the

Court.

Respectfully submitted,

   
     

MARTINIAN AND A3R8OCIATES , INC.

 

   

Attorney for Defend
Edward Badalian

2801 Cahuenga Blvd.N
Los Angeles, CA 90058
323-850-1900
tm@martinianlaw.com
